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---------- Forwarded message ----------
From: Donald Rulh <donaldrulh@gmail.com>
Date: Wed, Mar 7, 2018 at 1:44 PM
Subject: Re: Texas DBE Programs
To: Michele Elwell <michele.elwell021@gmail.com>
Cc: Arnold Baker <abaker@brmconcrete.com>, Morris Kahn <morriskahn@aol.com>, shawjos73@yahoo.com

Hello Michele,

As per my text yesterday evening between us both, I too am waiting on the proposals for the final and potential
agreements.

In copy, hopefully Mr. Morris and/or Arnold can share the latest timeline to be done.

I spoke to Mr. Wayne/Ellsworth on several
Occasions prior to his surgery and then they wanted to meet but I have pushed them off formally because we are
awaiting details that are needed.

We can quote out anyone we want to regarding insurance, only reason I went to Ellsworth is because they did
decent service for other companies I’m involved with and still currently inside FLS. Mr. Wayne came along
years back when we were insured with Paul’s Agency (Trey’s guy), and we were covered the way we should
have been and we also saved money. So I trust him in general. He had surgery, and we still need to finalize
paperwork. But, like I said, if anyone has an insurance company they would like to price, I think it’s smart to
shop it around. Mr. Wayne has also insured Harvey Gulf and Associated Marine Terminals in the past, so they
know both the Offshore And Stevedoring.

I’m hoping everyone in copy can weigh in on the timelines. I’m as eager as anyone to get this deal going.

Typing on phone, please excuse grammatical errors.

Best Regards,
Donald Rulh

cell: 504-338-3735

                                                        1
                                                                                              RULH 003678
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On Mar 6, 2018, at 6:16 AM, Michele Elwell <michele.elwell021@gmail.com> wrote:

      Donald

      Just my thoughts however before we close any deals we need the company set up and all the
      details on how it works along with Insurance in place. I forwarded my email to Holly this
      morning as I am not getting any replies from them.

      If you could send the structure information and clarification on how all of this will work I would
      be greatly appreciate.

      Michele Elwell
      337-296-8628
      michele.elwell021@gmail.com

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      communication shall not be disclosed to any third party. If you are not the intended recipient,
      please notify sender immediately by return e-mail and have the information destroyed. Michele
      Elwell will not accept liability for any loss or damage whether direct or indirect relating to the
      communication by e-mail of data or documents.

      On Mar 6, 2018, at 1:28 AM, Donald Rulh <donaldrulh@gmail.com> wrote:

               Thanks for sharing, the opportunities are countless. I am trying to put together our
               target market for other main streams of past revenues and relationships. Will also
               send over an NDA for all to sign before I send out a list of clientele that we will
               pursue, I can figure out some
               Estimated sales that some of our collective past relationships can potentially
               generate.

               I am also awaiting to see when Shawana is setting up the meeting for the NYC
               tunnel job and I will drive out to her to hopefully close that deal.

               Morris and I have a 3pm scheduled for tomorrow/later today actually. I am hoping
               that we can try to finalize opening the new entity so we can start organizing the
               infrastructure.



                                                        2
                                                                                                RULH 003679
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 3 of 35
  I know it seems that we aren’t getting much done, but it’s going to come Together
  nicely.

  Best Regards,
  Donald Rulh

  cell: 504-338-3735

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  www.trashdoctors.com

  On Mar 2, 2018, at 1:23 PM, Arnold Baker <abaker@brmconcrete.com> wrote:

         <attachment 1.docx>


         Arnold Baker

         On Mar 2, 2018, at 1:20 PM, Arnold Baker
         <abaker@brmconcrete.com> wrote:

                <attachment 1.docx>



                Arnold Baker

                On Mar 1, 2018, at 5:59 AM, Arnold Baker
                <abaker@brmconcrete.com> wrote:

                        Triumph works well, reflecting the
                        battles and challenges ahead with a
                        spiritual embodiment of inevitable
                        victory.

                        Arnold Baker

                        On Mar 1, 2018, at 1:44 AM, Donald
                        Rulh Jr. <donaldrulh@gmail.com>
                        wrote:

                               Sounds like we may
                               go with “Triumph
                               Logistics” unless
                               otherwise told
                               differently. Michele
                               and I text and she is
                               cool with it as well as
                               Morris.


                                          3
                                                                                RULH 003680
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                         We just need to get
                         the info on where to
                         open the entity and
                         finalize the
                         structure. I worked
                         on the Business Plan
                         tonite but keep getting
                         side tracked with
                         other business. It is a
                         work in progress.

                         Off the top of my
                         head and the most
                         important things to
                         discuss is how big do
                         we want to go on the
                         front end while
                         assembling the team
                         and support.

                         I’ve got the entire
                         Harvey office ready
                         to jump ship and
                         Shawana seems ready
                         as well.

                         We know that us 4 are
                         onboard and the other
                         potentials are just
                         waiting for
                         “packages/options”
                         and pay.

                         The list for other
                         pieces of the puzzle
                         include:

                         Jason Bruner - whom
                         can attack the land
                         based and should be
                         able to bring some
                         Stevedoring business
                         to at least pay some
                         bills and then
                         eventually be the lead
                         person to run the DBE
                         and special projects
                         division.

                         Michael Reynen - an
                         Overall Team player
                                    4
                                                               RULH 003681
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                         and cannot say that I
                         have ever seen harder
                         and dedicated
                         guy. One of the most
                         respected names on
                         the River and US Gulf
                         when it comes to
                         shipping.

                         Ms. Janet - just
                         because she is Ms.
                         Janet, lol

                         Other potential is our
                         newest CLS addition
                         Tony. He comes
                         from a Marine
                         Crewing background.
                         He is a very good
                         recruiter and Shawana
                         can later weigh in on
                         Tony. Small world
                         but we grew up in the
                         same arena and know
                         tons of the same
                         people. JB and Mike
                         can also vouch for
                         Tony, he would be
                         great and it would
                         further limit CLS’
                         ability to operate once
                         we pull whom we are
                         targeting.

                         All in all, total
                         salaries we would
                         have to support would
                         be around $300-
                         $350K for the first
                         year. I do not see
                         how we cannot be self
                         sufficient within 6
                         months. The value on
                         bringing the larger
                         team is that it
                         undermines the ability
                         of CLS to handle their
                         workload and
                         everyone we are
                         taking brings
                         relationships on many
                                    5
                                                               RULH 003682
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 6 of 35
                         different angles that
                         are proven over the
                         years and these guys
                         can go market and sell
                         until they bring in
                         enough business to
                         support their salaries.

                         I’m getting tired and
                         running on, I will be
                         in touch. Looking
                         forward to Friday,
                         good night!

                         Best Regards,
                         Donald Rulh Jr.
                         Co-Owner

                         www fourchonlaunch.com
                         www.trashdoctors.com

                         Direct Cell 504-338-3735
                         donaldrulh@gmail.com




                         On Feb 27, 2018, at
                         11:59 AM, Donald
                         Rulh Jr.
                         <donaldrulh@gmail.c
                         om> wrote:

                         Apex Predator, Top of
                         the Food Chain is
                         why I liked it but I
                         also like your options
                         as well. Your names
                         are not as popularly
                         used, so I see the
                         point of going that
                         route.

                         I kind of like:
                         1. Triumph the most,
                         Triumph Logistics
                         (Logo maybe a
                         Warrior standing on
                         top of a mountain
                         with a skull in his
                         hand LOL) or just a
                                      6
                                                               RULH 003683
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 7 of 35
                         Warrior standing on
                         top of summit
                         2. Or Conquest would
                         be in my top 2
                         Conquest Logistics
                         3. Or another Key
                         Word could be
                         “Summit” - to reach
                         the highest point of a
                         mountain…. And also
                         it is obviously used
                         politically for a
                         meeting of 2 heads of
                         Gov’t
                         Summit Logistics

                         Everyone please
                         weigh in your
                         thoughts or Michele
                         maybe just go with
                         one of the 3 above?
                         Kismet is cool and
                         has good meaning but
                         most people may have
                         to google the
                         meaning? We just
                         need to finalize this
                         and then meet figure
                         out the final structure
                         for the initial parent
                         company.

                         Once we are open for
                         business, combining
                         our relationships and
                         our expertise with
                         Arnold’s specialty
                         knowing major for
                         DBE (Maritime
                         Specific
                         Companies), I can
                         see us becoming a
                         partnering company
                         for 3rd party service
                         and supply companies
                         that DO NOT have
                         DBE status. We will
                         partner with 3rd Party
                         vendors to fill quotas
                         for Major National
                         Brands. In Essence,
                                    7
                                                               RULH 003684
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                         we would in some
                         cases become a
                         Management and/or
                         Brokering Company
                         within some of these
                         arenas. Arnold can
                         explain this in better
                         detail as to the
                         requirements and the
                         business models for
                         these companies
                         pushing for DBE
                         participation.

                         My initial thoughts on
                         obvious and potential
                         revenue streams and
                         different divisions
                         listed below. It is a
                         lot and actually even
                         more than I will
                         list. But I think it will
                         be smart to obviously
                         go after what has
                         worked for us over
                         the years.

                         1. We can start out
                         with our normal
                         Marine, Shoreside
                         Crewing and Labor,
                         plus expand into other
                         niche personnel
                         markets…. But the
                         advantage NOW, is
                         that we will be able to
                         go straight to the DBE
                         Procurement Offices
                         of the bigger Oilfield
                         companies in
                         particular and ask
                         what they are needing
                         to fill, and now be
                         able to give them
                         Crewing Possibilities
                         from a DBE
                         standpoint which is
                         not being don right
                         now. I looked into
                         trying to convert CLS
                         into a DBE years back
                                     8
                                                               RULH 003685
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                         and I could not get the
                         support to do so. It’s
                         a competitive
                         advantage where we
                         have no competition
                         with regarding Marine
                         Crewing in
                         specific. Add That
                         Advantage on top of
                         of our personal and
                         existing relationships,
                         we will obtain a
                         decent amount of
                         business sooner than
                         later, I have no doubt
                         in this model.

                         2. We will be
                         advertising/marketing
                         to O&G Majors,
                         Fortune 500
                         Companies etc… to
                         find out what there
                         needs might be and
                         then go out and find
                         the Service and/or
                         Supply
                         houses/companies to
                         form “Strategic
                         Alliances” with 3rd
                         party Vendors and
                         then adding our mark-
                         up, management fees
                         (Arnold can explain
                         this in better detail but
                         this is just what I
                         know about this
                         advantage)

                         3. By going to the
                         O&G Majors and
                         having our
                         experience/resumes
                         for Oilfield Personnel,
                         we will be able to
                         obtain MSA’s with
                         the Majors, whereas
                         before, I was unable
                         to obtain MSA’s for
                         CLS not being DBE
                         Certified (this is when
                                    9
                                                               RULH 003686
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                         I first started
                         educating myself on
                         this idea 7 years ago-
                         everything happens
                         for a reason and I am
                         excited to finally
                         achieve this personal
                         goal).
                         I know the Oil Majors
                         hire 3rd Party
                         Company Men,
                         Operators etc…
                         (Marty with BP was
                         one of these type of
                         guys working under
                         Turner, Brown and
                         Root or maybe Danos
                         and Curole), in some
                         cases they will
                         actually give us the
                         “Employee” and we
                         are just running
                         him/her thru our
                         payroll with mark-
                         up. They also hire all
                         sorts of 3rd party
                         personnel.

                         4. Another major
                         revenue stream is
                         potentially and
                         eventually getting into
                         the Foreign Worker
                         Programs to supply
                         Sandblasters,
                         Painters, Rig hands
                         and who knows what
                         other positions in the
                         USG in specific. I
                         know Grand isle
                         Shipyard makes a ton
                         of money on
                         this. This can be a
                         long term goal and
                         will require more
                         research, but to my
                         knowledge there are
                         no DBE Certified
                         Suppliers of this type
                         of personnel. There
                         are likely hundreds of
                                   10
                                                                RULH 003687
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 11 of 35
                         guys working out
                         there for GIS and the
                         Danos and Curole.

                         5. More recently and
                         on/off during 2017 I
                         was trying to build a
                         “Turnaround”
                         Division that I could
                         nt get any cooperation
                         internally and I just
                         let it go after getting
                         no assistance. But
                         Turnarounds on the
                         River and along the
                         USG Ports is a huge
                         market. Most major
                         Terminals will hire
                         3rd party crews to go
                         in there and provide
                         specialists. The one
                         major change in that
                         industry is that the
                         Terminals are now
                         also requiring the 3rd
                         party to also supply
                         consulting services on
                         the Turnaround
                         regarding Safety
                         Procedures and plan
                         of attack for the
                         specific job. Big
                         Companies in this
                         industry are Turner
                         Industries and I will
                         have to pull up an old
                         email and re-forward
                         more specifics on this
                         division that I think
                         we can go into in the
                         future. I am pretty
                         sure there are no DBE
                         Providers to this
                         opportunity and I
                         believe there is great
                         margins within this
                         Industry. One thing
                         we would
                         eventually Have to do
                         is likely hire someone
                         that is
                                   11
                                                                RULH 003688
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                         The
                         Brains/Operations
                         Manager at one of our
                         future competitors in
                         this Arena.
                         Whomever that may
                         eventually be, would
                         be able to:
                         A. Bring a Resume of
                         past performance
                         B. Bring the
                         knowledge on how to
                         do this work
                         C. Potentially bring
                         some business with
                         them
                         D. Will have a
                         database of the Hired
                         Help/Laborers
                         etc…for the qualified
                         workforce. I know
                         some of these
                         positions are Boiler
                         Professionals, Safety,
                         Fire/Hole Watch etc.

                         6. Another potential
                         for DBE in specific is
                         to eventually create a
                         Safety Division. Tons
                         of money in Safety
                         Personnel, I seen this
                         when I did the BP
                         Project at NASA. We
                         were making $1700
                         per day profit for 2
                         safety guys, it was
                         great. Those margins
                         might not always be
                         that great, but I have
                         always heard Safety
                         has great margins and
                         has become prevalent
                         in today’s liability
                         burdens for
                         companies. And now
                         the major Industries
                         are pushing for more
                         3rd party Safety Guys
                         in some cases for

                                   12
                                                                RULH 003689
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                         transparency and
                         Quality Assurance.

                         7. This is something
                         Michele brought
                         up. She has a
                         company looking to
                         use us for payroll. She
                         can discuss this to
                         follow this email.

                         These are Just some
                         of my thoughts and
                         feel free to weigh in:-)

                         I am also trying to
                         complete a rough
                         business plan that
                         Michele and I can
                         work on together. I
                         will hopefully get
                         some of it done today
                         but we obviously
                         have several moving
                         pieces that cannot be
                         fully answered until
                         we get the Company
                         formally
                         opened. Might not be
                         finished today neither
                         but I will push to have
                         it done by tomorrow
                         at the latest. Part of
                         this is figuring out the
                         payroll based on
                         whom I plan on
                         potentially adding on
                         the front end and to
                         give everyone (1-year
                         stability and
                         commitment) to get
                         us rolling. I have
                         ZERO doubt we
                         cannot get this thing
                         going in the right
                         direction and self
                         sustainable in
                         relatively little time
                         versus other “start-
                         ups”. We know what
                         works, what does
                                    13
                                                                RULH 003690
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                         not. We know we
                         will not have
                         Accountants trying to
                         run the company and
                         will set up our HR
                         and Internal Controls
                         correctly on the front
                         end. We do not need
                         glorified accountants
                         dabbling in Sales and
                         Operations. Build it
                         around Sales and
                         Operations and
                         everyone else is
                         replaceable. But even
                         more so, make sure
                         Operations is
                         supported properly
                         and not working
                         people in to the
                         ground.

                         We are discussing to
                         either open the
                         company in Nevada
                         or Delaware. Morris’
                         contact whom is a
                         Specialist on this
                         particular topic will
                         help consult us by the
                         end of this week on
                         the different benefits
                         for each state.
                         Personally and
                         Logistically I would
                         rather Nevada if it’s a
                         coin toss in benefits
                         between each state. I
                         would like to have the
                         company opened and
                         named by the end of
                         the week so we can
                         start working on
                         getting things rolling
                         next week.

                         From what I am
                         hearing, there are
                         several different
                         benefits each state has
                         versus the other
                                   14
                                                                RULH 003691
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                         one. Morris can
                         weigh in on this and
                         give his friends
                         name. Michele, this
                         guy also does free
                         business structure
                         seminars in NOLA
                         every other week if
                         you would like to join
                         me on the next one? I
                         will find out the date
                         and time for the next
                         one and maybe we
                         can go together as I
                         need to learn more
                         about this as well.

                         Looking forward to
                         everyone’s
                         feedback…. Typing
                         in a hurry, so please
                         excuse grammatical
                         errors.


                         Best Regards,
                         Donald Rulh Jr.
                         Co-Owner

                         www fourchonlaunch.com
                         www.trashdoctors.com

                         Direct Cell 504-338-3735
                         donaldrulh@gmail.com




                         On Feb 27, 2018, at
                         7:27 AM, Michele
                         Elwell
                         <michele.elwell021@
                         gmail.com> wrote:

                         As for a name, just in
                         my area there are 12
                         companies with Apex
                         in them from
                         Soultions,
                         Consultants
                         etc. Below are some
                         thoughts with the
                                     15
                                                                RULH 003692
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                         same meaning as
                         Apex

                         Kismet (kinda like
                         this one)
                         Triumph
                         Victory
                         Star
                         Conquest

                         Not sure if any of
                         these would work.
                         Just my suggestions.

                         Michele

                         Michele Elwell
                         337-296-8628
                         michele.elwell021@g
                         mail.com

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                         Gulf Shores and
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                         2


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                                   16
                                                                RULH 003693
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                         communication.
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                         destroyed. Michele
                         Elwell will not accept
                         liability for any loss
                         or damage whether
                         direct or indirect
                         relating to the
                         communication by e-
                         mail of data or
                         documents.

                         On Feb 26, 2018, at
                         11:55 PM, Donald
                         Rulh Jr.
                         <donaldrulh@gmail.c
                         om> wrote:

                                Hello
                                All,

                                I have
                                been
                                discuss
                                ing and
                                explain
                                ing
                                each of
                                you to
                                one
                                another
                                and
                                actuall
                                y made
                                the
                                “meet
                                and
                                greet”
                                lunche
                                on last
                                   17
                                                                RULH 003694
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                               week
                               betwee
                               n
                               Shawa
                               na,
                               Michel
                               e and
                               Morris.


                               I have
                               express
                               ed the
                               strategi
                               c
                               import
                               ance of
                               setting
                               up
                               from a
                               DBE
                               standp
                               oint for
                               many
                               years.
                               It is
                               someth
                               ing I
                               have
                               been
                               trying
                               to
                               guide
                               another
                               compa
                               ny that
                               you all
                               aware
                               of and
                               have
                               receive
                               d
                               nothin
                               g but
                               kickba
                               ck, this
                               is all
                               provab
                               le and
                               will
                               come
                                  18
                                                                RULH 003695
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                               out
                               very
                               soon.

                               I am
                               done
                               discuss
                               ing
                               that
                               other
                               compa
                               ny and
                               I am
                               here to
                               build
                               an
                               entirel
                               y new
                               team
                               using
                               the
                               things
                               that
                               worked
                               from
                               my
                               past
                               experie
                               nce,
                               adding
                               to it,
                               buildin
                               g the
                               team
                               around
                               Operati
                               ons
                               and
                               Sales
                               Profess
                               ionals
                               and
                               support
                               ing
                               said
                               the
                               team
                               with
                               resourc
                               es to
                               lessen
                                 19
                                                                RULH 003696
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                               the ,
                               burden
                               of
                               perfor
                               mance.


                               We
                               will
                               not
                               build
                               the
                               new
                               team
                               around
                               glorifie
                               d
                               accoun
                               tants
                               by
                               trade
                               and
                               neglect
                               the
                               true
                               support
                               staff.
                               We
                               will
                               also
                               stress
                               the
                               import
                               ance of
                               HR
                               and
                               look to
                               cross
                               train
                               Operati
                               ons
                               and
                               Logisti
                               cs
                               Profess
                               ionals
                               to be
                               able to
                               do
                               other
                               tasks
                                  20
                                                                RULH 003697
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                               but
                               with
                               proper
                               trainin
                               g. I
                               will be
                               rolling
                               out a
                               new
                               Busine
                               ss Plan
                               very
                               soon to
                               show
                               the
                               structu
                               re that
                               I think
                               we
                               should
                               move
                               to and
                               also
                               for
                               everyo
                               ne’s
                               input.
                               I am
                               not
                               some
                               type of
                               “Dictat
                               or and
                               Chief”
                               and
                               lookin
                               g for
                               everyo
                               ne’s
                               input
                               that
                               joins
                               me on
                               the
                               front
                               end.

                               Our
                               main
                               goal
                               will be
                                 21
                                                                RULH 003698
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 22 of 35
                               staffin
                               g
                               Globall
                               y and
                               even
                               more
                               so
                               within
                               some
                               of the
                               same
                               Industr
                               ies that
                               we
                               have
                               all
                               been
                               workin
                               g
                               collecti
                               vely
                               for
                               over
                               100+
                               years.
                               This
                               experie
                               nce
                               will
                               actuall
                               y go to
                               150+
                               years
                               when
                               you
                               include
                               other
                               key
                               profess
                               ionals
                               that I
                               will be
                               bringin
                               g
                               onboar
                               d
                               shortly
                               , all of
                               them
                               you
                               know
                                  22
                                                                RULH 003699
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 23 of 35
                               very
                               well.

                               That
                               being
                               said, I
                               do not
                               want to
                               approa
                               ch this
                               venture
                               withou
                               t
                               initiall
                               y
                               ackno
                               wledgi
                               ng that
                               we will
                               likely
                               spawn
                               into
                               several
                               differe
                               nt
                               arenas
                               with
                               the
                               abilitie
                               s to
                               acquire
                               many
                               differe
                               nt
                               DBE,
                               8-A,
                               Hub-
                               Zone
                               Etc…
                               criteria
                               for
                               MAY
                               Opport
                               unities
                               out
                               there.
                               I have
                               been
                               knowin
                               g about
                               some
                                  23
                                                                RULH 003700
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 24 of 35
                               of
                               these
                               opport
                               unities
                               BUT
                               Arnold
                               can
                               take us
                               to
                               another
                               level
                               given
                               our
                               overall
                               abilitie
                               s from
                               an
                               Operati
                               ons
                               and
                               Experi
                               ence
                               Standp
                               oint.

                               These
                               opport
                               unities
                               are
                               better
                               suited
                               for
                               Arnold
                               to
                               discuss
                               with
                               you
                               ladies
                               in
                               person
                               as I
                               would
                               like for
                               us all
                               to meet
                               very
                               soon.

                               Arnold
                               travels
                               in
                                  24
                                                                RULH 003701
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 25 of 35
                               betwee
                               n
                               Housto
                               n and
                               NOLA
                               regular
                               ly and
                               it may
                               work
                               out for
                               us all
                               to meet
                               in
                               Lafaye
                               tte to
                               Baton
                               Rouge
                               area
                               sooner
                               than
                               later.

                               I am
                               not
                               tooting
                               my
                               own
                               horn,
                               but I
                               have
                               worked
                               and
                               opened
                               many
                               differe
                               nt
                               compa
                               nies, I
                               am the
                               commo
                               n
                               denomi
                               nator
                               in the
                               other
                               compa
                               nies
                               that
                               you
                               have
                               both
                                 25
                                                                RULH 003702
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 26 of 35
                               helped
                               me
                               build.
                               I
                               INVIT
                               ED all
                               Partner
                               s into
                               my
                               busines
                               s life
                               only to
                               be
                               disenfr
                               anchise
                               d and
                               defrau
                               ded
                               into a
                               certain
                               point
                               where
                               I had
                               to
                               protect
                               myself.
                                 I am
                               not
                               afraid
                               to put
                               this on
                               paper
                               and
                               email
                               becaus
                               e I DO
                               NOT
                               HAVE
                               NON-
                               COMP
                               ETE
                               and my
                               factual
                               data
                               support
                               s
                               everyth
                               ing I
                               am
                               saying,
                                 I have
                                  26
                                                                RULH 003703
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 27 of 35
                               made
                               several
                               people
                               million
                               aires
                               on
                               paper
                               so far
                               and we
                               will
                               eclipse
                               that x’s
                               100
                               regardi
                               ng our
                               success
                               movin
                               g
                               forwar
                               d, we
                               now
                               know
                               the
                               “formu
                               la". Pl
                               ease do
                               not
                               take
                               this the
                               wrong
                               way,
                               but I
                               will
                               not
                               waste
                               my
                               time
                               movin
                               g
                               forwar
                               d and
                               please
                               know
                               that I
                               value
                               each of
                               you
                               individ
                               ually
                               as to
                               whats
                                  27
                                                                RULH 003704
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 28 of 35
                               we all
                               bring
                               to the
                               table.

                               As we
                               all
                               know,
                               I will
                               be
                               putting
                               some
                               fires
                               out on
                               the
                               other
                               end of
                               my
                               busines
                               s
                               dealing
                               s and
                               have
                               spent
                               well
                               over
                               $100,0
                               00
                               researc
                               hing
                               and
                               doing
                               my
                               best to
                               protect
                               my
                               wealth
                               and
                               assets
                               so
                               far. I
                               will
                               not be
                               a
                               “micro
                               -
                               manag
                               er” on
                               this
                               deaL, I
                               will
                                 28
                                                                RULH 003705
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 29 of 35
                               not be
                               front
                               and
                               center,
                               NOR
                               will I
                               try to
                               re-
                               invent
                               the
                               wheel.
                                I will
                               put the
                               team
                               togethe
                               r, will
                               work
                               behind
                               the
                               scenes
                               to
                               make
                               sure
                               our
                               goals
                               are met
                               and try
                               to lead
                               the
                               directi
                               on to
                               find
                               the
                               best
                               “profit
                               margin
                               s” and
                               not
                               chase
                               our
                               tails.

                               Arnold
                               is a
                               profess
                               ional
                               on
                               many
                               differe
                               nt
                               levels
                                 29
                                                                RULH 003706
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 30 of 35
                               and
                               knows
                               the
                               avenue
                               s we
                               can
                               pursue
                               using
                               "our
                               collecti
                               ve”
                               level
                               of
                               experti
                               se. We
                               will be
                               enablin
                               g our
                               new
                               DBE
                               to go
                               after
                               market
                               s that
                               do not
                               necess
                               arily
                               have
                               DBE
                               partici
                               pation
                               within
                               said
                               fields.
                               While
                               doing
                               so, I
                               firmly
                               believe
                               we will
                               stumbl
                               e upon
                               new
                               market
                               s that
                               will
                               diversi
                               fy our
                               group
                               across

                                  30
                                                                RULH 003707
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 31 of 35
                               the
                               board.

                               Real
                               soon,
                               we
                               need to
                               finalize
                               the
                               name
                               and
                               Arnold
                               /Morris
                               can
                               answer
                               your
                               questio
                               ns on
                               the
                               structu
                               re of
                               the
                               entities
                               as
                               nothin
                               g is set
                               in
                               stone
                               yet.
                               There
                               is
                               reason
                               to the
                               differe
                               nt
                               ways
                               to
                               structu
                               re
                               these
                               deals.
                               My
                               deal is
                               I want
                               everyo
                               ne
                               protect
                               ed on
                               the
                               front
                               end
                                  31
                                                                RULH 003708
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 32 of 35
                               and I
                               also do
                               not
                               want to
                               be in
                               the
                               same
                               situatio
                               n5
                               years
                               down
                               the
                               road
                               once I
                               set up
                               the
                               bluepri
                               nt for
                               success
                               and
                               people
                               think I
                               am not
                               needed
                               .

                               I liked
                               “Apex
                               ” as a
                               first
                               name
                               and
                               maybe
                               Logisti
                               cs or
                               Solutio
                               ns
                               behind
                               it but
                               Michel
                               e
                               thinks
                               it is
                               too
                               commo
                               n. I
                               am
                               easy
                               and
                               everyo
                               ne
                                  32
                                                                RULH 003709
Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 33 of 35
                               please
                               feel
                               free to
                               throw
                               some
                               suggest
                               ions
                               out
                               there.
                               My
                               only
                               suggest
                               ion is
                               that we
                               do not
                               paint
                               ourselv
                               es into
                               a
                               :local”
                               box
                               and/or
                               service
                               . We
                               want
                               someth
                               ing
                               broad,
                               Global
                               and
                               could
                               encaps
                               ulate
                               any
                               type of
                               service
                               that
                               comes
                               out
                               way.

                               Lookin
                               g
                               forwar
                               d to
                               your
                               feedba
                               ck and
                               trying
                               to
                               schedu
                                 33
                                                                RULH 003710
     Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 34 of 35
                                    le a
                                    meetin
                                    g of all
                                    5 of us
                                    sooner
                                    than
                                    later.

                                    And of
                                    course,
                                    this
                                    email
                                    is
                                    100%
                                    confide
                                    ntial…
                                    . We
                                    are
                                    going
                                    to
                                    knock
                                    this out
                                    of the
                                    park!


                                    Best
                                    Regards,
                                    Donald
                                    Rulh Jr.
                                    Co-
                                    Owner

                                    www.fou
                                    rchonlaun
                                    ch.com

                                    Direct
                                    Cell 504-
                                    338-3735
                                    donaldrul
                                    h@gmail.
                                    com




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                                       34
                                                                     RULH 003711
           Case 2:18-cv-03799-EEF-MBN Document 66-1 Filed 07/24/18 Page 35 of 35
Thanks & Regards,
Donald Rulh

Fourchon Launch Services, LLC
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                                                                                               RULH 003712
